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Uoi d S§ates Bankruptcy Court

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Voluntary Petition

 

 

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12. or 13 of title ll. United Ststes Code. end have explained the relief available
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.r Adam Dlamond
' _! Ernlhn C
Does debtor own or have possession many property that poses or is alleged to pose e threat ct' imminent and identifiable harm to public health or safety?
n and Exhibit C is medited end n pit of this petition
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debtor.ilf a joint petition ill tiled, each spouse must complete and attach a separate Exhibit D.)
by the debtor is attached and made s part of this petition.

 

 

 

 

led or as had n residencc, principal place of business, or principal assets in this District for 180
ding t date of this petition or for a longer part of such 180 days than in any other DistricL

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iii place ot` business or assets ill the United Ststles but is a defendant in an action or
er star court] in this Distlict, or the interests ofthc parties will be served in regard to the relief

 

 

 

 

 

 

 

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served the landlord with this certification (ll U.S.C. § 362(1)).

t sgail§,st the debtor for possession of debtors residence (lfbox checked, complete the following.)

;able nonbanknlptcy lsw, there aro circumstances under which the debtor would be permitted to cure
the entire monetary d ult that gave rise to the judgment for possession, utter the judgment for possession wall entered, and
this petition the deposit with the court of any rent that would become due during the 250-day period

 

 

 

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p non] l have obtained an read thv " uired by l l U.S.C. §342(\7}. t
z ir g Purpnant to ll U.S.C §l_§l \, l request relief in accordance with the chapter
l me rosario moreover win ma rsoprer pt sur l l, united storer codel °f '“‘° ‘ ‘ ’l"’°‘“°‘1 "‘ ““‘ P°“"°“' A °°’°`F'°d °°PY °1"*'° °“1“ W"“$

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Signature of bankruptcy petition preparer or officer, principal, responsible
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conforming 10 the appropriate official form for each person _

 

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In re '| Joy C. E|llaon.

 

 

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: Debtor

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In re Joy c. Elu¢oq' case No.
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rookside Village Neighborhood
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amp Delton Club, Inc.
10305 Xanadu Rd
isconsin Dells, WI 53965

base Card
O Box 15298
ilmington, DE 19850

O BOX 15298

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hase Card Services
ilminqton, DE 19850

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hase Card Services
ilmington, DE 19850

O Box 15298

base Card Services
ilmington, DE 19850

base Mortgage
O Box 24 696
olumbus, OH 43224

ommerce Bank
O Box 411036
ansas City, MO 64141

95 S. POrter Drive

ypsum Supply Co.
ound Lake Park, IL 60073
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125 Harrison Avenue

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j ypsum S\lPPlY CO ~
l ROCkard, IL 61104-7293

    
 

Kalman Management
1585 N. Milwaukee Avenue, Ste. 16

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<: Libertyville, IL 60048

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People's Energy
130 E. Randolph Driv€, 17th FlOOr
Chicago, IL 60601

BYNCB/ABT Electronics
PO Box 965036
prlando, FL 32896

US Bank
Po Box 108
Saint Louis, MO 63166-9801

US Bank
§O Box 108
aint Louis, MO 63166-9801

US Bank

lllinois-Chicago Indirect Lending
.O BOX 790179

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THIS COMMUNICATiON IS FROM A DEBT COLLECTOR. THIS IS AN
ATTEMPT TO COLLECT A DEBT. ANY AND ALL INFORMATION OBTAINED
WILL BE USED FOR THAT PURPOSE.

 

 

IN REivi NOTICE AND DEMAND F`OR POSSESSION
DATE: l\/larch 7, ZOl 7

TO:

% Joy Ellison
and All Unknown Occupants

  

SUBJECT: Brookside Village Neighborhood Association

Tl'llS lS THE PROPERTY'S NOTICE that pursuant to Sec. 9-102, et seq. of the Illinois Code of Civil Proccdurc that as
of March l, 2017, the records of the Association indicate that the property is in default of its ongoing obligation due to
Brooksidc Villagc Ncighborhood Association in thc sum of $4,100.00 for its proportionate share of the expenses of
administration maintenance and repair of the common elements/areas and other expenses lawfully agreed upon due and
owing at least in part since 02/01/201 l, as well as the sum of $265.02 in legal fees and costs in attempting to collect this

account, for a total sum of S4,365.02. UPON E`XPIRATION OF TH]S NOTICE, THE ASSOCIA'I`ION HEREBY
DEMANDS POSSESSION OF THE FOLLOWTNG DESCRIBED PREMISES situated in the City/Village of Gurnee,
County of Lake, State oflllinois and commonly known as: 36205 North Old Creek Court, Gurnee, IL 60031.

This is its NOTICE that payment in full of the amount stated above is demanded of the property and that, unless its
payment of the FULL AMOU`NT is made on or before the expiration of thirty-four (34) days after the date of mailing of
this Notice, THE ASSOCIATION MAY SEEK TO TERMINATE ANY RIGHT TO POSSESS]ON OF THE
PREM]SES. Payment of the full amount stated must be made payable to “Brookside Village Neighborhood Association”
and sent to the law finn of Fullett Rosenlund Anderson PC, 430-440 Telser Road, Lake Zurich, IL 60047. Only FUI_,L
PAYMENT of all amounts demanded in this Notice will invalidate the demand, unless the property claiming possession,

or its agent or attorney, agrees in writing to withdraw the demand in exchange for receiving partial payment if the debt is
disputed as discussed below, this office will suspend its efforts to collect the debt until the information is mailed

UNLESS YOU NOTIFY THIS OFFICE WITHIN 30 DAYS AFTER RECEIVING THIS
NOTICE THAT YOU DISPUTE THE VALIDITY OF THIS DEBT OR ANY PORTION
THEREOF, THIS OFFICE WILL ASSUME THIS DEBT IS VALID. IF YOU N()TIFY
THIS OFFICE IN WRITING WITHIN 30 DAYS FROM RECEIVING THIS NOTICE
THAT YOU DISPUTE THE VALIDITY OF THIS DEBT OR ANY PORTION
THEREOF, THIS OFFICE WILL OBTAIN VERIFICATION OF THE DEBT OR
OBTAIN A COPY OF A JUDGMENT AND MAIL YOU A COPY OF SUCH
JUDGMENT OR VERIFICATION. IF YOU REQUEST OF THIS OFFICE IN
WRITING WITHIN 30 DAYS AFTER RECEIVING THIS N()TICE THIS OFFICE
WILL PROVIDE YOU WITH THE NAME AND ADDRESS OF THE ORIGINAL
CREDITOR, IF DIFFERENT FROM THE CURRENT CREDITOR. IF YOU DISPUTE
THE DEBT WITHIN THE 30 DAY PERIOD, THIS OFFICE WILL SUSPEND ITS

EFFORTS TO COLLECT THE DEBT UNTIL THE INFORMATION IS MAILED.

Writtcn requests should be addressed to: Fullett Roscnlund Anderson PC, 430-440 Telser Road, Lake Zurich, lL 60047_

 

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'l`he above-stated amount is as of March l, 20]7. Hence if the amount provided is paid, the payment wili constitute
payment in full only through Marcli l, 2017.

The above stated amount will increase with the levy of future assessments, late fees and other common expenses
Thei'efore, if the amount claimed is paid, the assessment account with the Association may still reflect assessments and

other common expenses that were not assessed as of iviarch l, `20l 7. For further information, write Fullett Rosenlund
Anderson PC, 430-440 Telser Road, Lake Zurich, IL 60047.

Board of Directors of
Brookside Village Neighborhood Association

 

By: <é
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CERTIFICATE Ol~` MAlL_lNG

The undersigned, being first duly sworn on oath deposes and says that the office mailed a copy of the foregoing Notice
and Demand for Possession by enclosing the same in an envelope addressed to the above at the address above, and caused
same to be deposited in the U.S. Mail, certified mail, return receipt requested, and a copy by regular mail, before 7:00

p.m. on the date above, with proper postage %/% _

OFFlClAL SEAL
JlLL SERV\

Subs_cribed and sworn to before me
this _z_ day ofMarch, 2017.
NOTAR¥ PuBLiC - STATE OF iLLiNOiS

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Notary ib i‘c/A\J %V --'-"

CERTIFIED l\/IA`IL, RETURN RECEI`PT REQUESTED
cc: Regular Mail

    
      

  

Fullett Rosenlund Anderson _PC
430-440 Telser Road

Lake Zurich, IL 60047
847/222-9600

File No. 015-826

